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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MARIA JOSE PIZARRO                       1:20-cv-05783-AKH
                 Plaintiff/Counterclaim
                 Defendant               MEMORANDUM OF LAW IN SUPPORT
v.                                        OF MOTION TO APPOINT RECEIVER
EUROS EL TINA RESTAURANT LOUNGE
AND BILLIARDS CORP., SANTIAGO
QUEZADA, SANTIAGO QUEZADA JR.
                 Defendants/Counterclaim
                 Plaintiffs/Third-Party
                 Plaintiffs
v.
EMITON FERNANDEZ, NARCISO GOMEZ,
JOSE E. CASTRO, TOMAS ANDRES
PIZARRO ZEPEDA, ELADIO CASTRO
PRODUCTIONS INC., ZOILIMAR MEJIA,
                 Third-Party Defendants




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       Plaintiff Maria Jose Pizarro (“Maria”) submits this memorandum of law in support of her

CPLR 5228 motion to appoint a receiver and for related relief.

                                         BACKGROUND

       This Court entered judgment (ECF #194) in favor of Maria and against defendants Santiago

Quezada (“Mr. Quezada”) and Euros El Tina Restaurant Lounge and Billiards Corp. in the amount

of $1.625 million and $1.1 million respectively.

       The judgment does not include attorneys’ fees awarded (ECF #195), or attorneys’ fees

incurred in Mr. Quezada’s appeal of the same.

       The judgment has been docketed with the Westchester County Clerk. (Chubak Decl.

Exhibit 1.)

       Mr. Quezada later commenced a Chapter 11 case (24-bk-22431-SHL, “Bankruptcy”) to

stay enforcement. (Bankruptcy ECF #2 ¶2 (“since the judgment has been entered, my bank account

has been restrained. As a result, I have had to seek the protection of the court”).)

       In Mr. Quezada’s bankruptcy schedules (Chubak Decl. Exhibit 2, “Schedules”) which he

certified (PDF p.31), he disclosed that he owns, inter alia:

       •      Real property located in the Dominican Republic (Schedule A/B Items 1.2, 1.3, 1.4,

              PDF pp.9-10), more specifically identified (Chubak Decl. Exhibit 3) in a Dominican

              public records search.

       •      A 2020 Mercedes Benz GLS with 21,000 miles as of when the Schedules were filed,

              that he states he does not know the value of and which is located in the Dominican

              Republic. (Schedule A/B Items 3.1-3.2, PDF pp.10-11.)

       •      All equity interests in Tina Fish Market (Schedule A/B, Item 19, PDF p.12), whose

              legal name is actually El Tina Fish Market Corp., per bank statements included in his



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           most recent monthly operating report (Bankruptcy ECF #82 PDF pp.15, 21, 27) and

           the New York Secretary of State (Chubak Decl. Exhibit 4). 1

The aforementioned Dominican real property, vehicle and equity interests in El Tina Fish Market

Corp. are hereinafter referred to as the “Property to be Received”.

       Other creditors’ claims against Mr. Quezada are much less than her’s, per the bankruptcy

claims register. (Chubak Decl. Exhibit 5.)

       On June 9, 2025, on motion of the United States Trustee (Chubak Decl. Exhibit 6), the

Bankruptcy Court entered an order (Chubak Decl. Exhibit 7) dismissing Mr. Quezada’s

bankruptcy case.

                                            ARGUMENT

       CPLR 5228(a) provides:

               Upon motion of a judgment creditor, upon such notice as the court
               may require, the court may appoint a receiver who may be
               authorized to administer, collect, improve, lease, repair or sell any
               real or personal property in which the judgment debtor has an
               interest or to do any other acts designed to satisfy the judgment. As
               far as practicable, the court shall require that notice be given to the
               judgment debtor and to any other judgment creditors of the
               judgment debtor. The order of appointment shall specify the
               property to be received, the duties of the receiver and the manner in
               which they are to be performed. A receiver shall have no power to
               employ counsel unless expressly so authorized by order of the court.
               A receiver shall be entitled to necessary expenses and to such
               commissions, not exceeding five percent of the sums received and
               disbursed by him, as the court which appointed him allows, but if a

1
  As to Euros El Tina Restaurant Lounge and Billiards Corp., also disclosed in Item 19, Mr.
Quezada attested (Bankruptcy ECF #2 Exhibit A, Summary of Assets and Liabilities) that the
entity is no longer operating. Mr. Quezada is nevertheless responsible for Maria’s judgment
against it. Ryan v. Brunswick Corp., 2002 WL 1628933, at *1 n.3 (W.D.N.Y. May 31, 2002)
(“tortfeasors that are more than 50% at fault remain jointly and severally liable for all of plaintiff’s
non-economic loss”, notwithstanding limitation on liability for tortfeasors that are 50% or less at
fault under CPLR 1601(1); In re New York City Asbestos Litig., 194 Misc.2d 214, 216 (Sup. Ct.
N.Y. Co. 2002) (“If a defendant is found more than 50% culpable … it cannot benefit from the
statute [CPLR 1601(1)] and remains liable as a joint and several tortfeasor”).

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               judgment creditor is appointed receiver, he shall not be entitled to
               compensation. If a receiver has been appointed, a court making an
               order directing payment, or delivery, of property shall direct that
               payment, or delivery, be made to the receiver rather than to a sheriff.
               Sections 6402, 6403, 6404 and 6405 are applicable to receivers
               appointed under this subdivision.

       In exercising discretion to appoint a receiver, courts consider: “(1) alternative remedies

available to the creditor … (2) the degree to which receivership will increase the likelihood of

satisfaction … (3) the risk of fraud or insolvency if a receiver is not appointed.” BSH Hausgeräte

GMBH v. Kamhi, 2018 WL 4583497 (S.D.N.Y. Sept. 25, 2018) (quoting Hotel 71 Mezz Lender

LLC v. Falor, 14 N.Y.2d 303, 317 (2010)).

       The first factor (alternative remedies available), militates in favor of appointing a receiver.

As to the equity interests, it is well established appointment of a receiver over intangible property

is appropriate. Colfin Bulls Funding B, LLC v. Ampton Invs., Inc., 62 Misc.3d 1208(A) (Sup. Ct.

N.Y. Co. 2018); Kerison & Willoughby Capital, Ltd. v. Royale Etenia, LLC, 2016 WL 2988988,

at *3 (Sup. Ct. N.Y. Co. May 20, 2016) (quoting Siegel, N.Y. Prac. § 512 (5th ed.)) (“A

receivership is ‘especially appropriate when the property interest involved is intangible, lacks a

ready market, and presents nothing that a sheriff can work with at an auction, such as the interest

of … a … corporation of which [the debtor] is a member’”).

       As to the tangible property (Dominican real property and 2020 Mercedes Benz vehicle),

appointment of a receiver is also warranted given the sheriff’s inability to execute on such property

given their location in the Dominican Republic. Fidelity Partners, Inc. v. First Trust Company of

New York, 58 F. Supp. 2d 55, 62 (S.D.N.Y. 1999) (sheriff may not “act outside of New York” and

lacks authority “to enforce Fidelity’s judgment by executing on assets located outside the United

States”) aff’d, 216 F.3d 1072 (2d Cir. 2000); Gryphon Domestic VI, LLC v. APP Int’l Fin. Co.,

B.V., 41 A.D.3d 25, 31 (1st Dep’t 2007) (“it would violate the sovereignty of another state if New


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York sheriff tried to attach property in another state”). And given the unavailability of CPLR 5225

turnover relief as to the Dominican real property. Keawsri v. Ramen-Ya Inc., 2022 WL 17813236,

at *3 (S.D.N.Y. Dec. 19, 2022) (collecting cases).

         On the other hand, the Court has authority to appoint a receiver notwithstanding that said

property is located outside the United States. U.S. v. Ross, 302 F.2d 831, 834 (2d Cir. 1962)

(because court had personal jurisdiction over defendant, it could order him to transfer property to

a receiver “whether that property was within or without the limits of the court’s territorial

jurisdiction”); 2 In re Feit & Drexler, Inc., 42 B.R. 355, 359 (S.D.N.Y. 1984) (similar); Mohr v.

Allen, 407 F. Supp. 483, 489 n.3 (S.D.N.Y. 1976) (court may indirectly act on foreign real estate

through its authority over parties before it; if the Court were to find that the defendant was the

“owner or trustee of the land”, then “this Court would have the power to order defendant to convey

the hotel facility [in Mexico] to a court-appointed receiver”, but declining to grant relief because,

unlike here, in Mohr title was disputed); Koehler v. Bank of Bermuda Ltd., 2004 WL 1555116

(S.D.N.Y. July 9, 2004) (citing U.S. v. First Nat’l City Bank, 379 U.S. 378, 383 (1965)) (“a court’s

power over an entity subject to its jurisdiction to direct a transfer of property does not depend upon

the existence of a legislative enactment; courts also derive such powers from principles of equity”);

Honeedew Investing Ltd. v. Abadi, 2019 WL 1863149 (Sup. Ct. N.Y. Co. April 25, 2019) (“As to

plaintiff’s application for a receivership pursuant to CPLR 5228 with respect to the Buenos Aires




2
 While Ross involved tax claims on behalf of the Federal government, the Second Circuit has
extended the rule to suits between private parties. Inter-Regional Fin. Group, Inc. v. Hashemi,
562 F.2d 152 (2d Cir. 1977).

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apartment, the defendants’ contention that this court lacks the power to compel them to deliver

property to a receiver from outside the court’s territorial jurisdiction is without merit”). 3

        As to the second factor (increasing likelihood of satisfaction), the Property to be Received

appears to constitute the vast majority of Mr. Quezada’s net worth. Based on his Schedules, it

appears that the balance is his Yonkers home which he values at $700,000, as to which he has a

$150,000 homestead exemption under CPLR 5206(e), another Mercedes Benz vehicle with around

$30,000 in equity, and $5,000 in watches, which are of course insufficient to satisfy the judgment.

        No finding is required as to the third factor (risk of fraud/insolvency absent receiver).

Ernest Lawrence Group, Inc. v. Gov’t Careers of Oakland, 2000 WL 1655234, at *2 (S.D.N.Y.

Nov. 3, 2000) (appointment of receiver is “appropriate when, in the judgment of the court, a public

auction is inadequate … or because leaving the property in the hands of the judgment debtor creates

a risk of fraud or insolvency”) (emphasis added); U.S. v. Vulpis, 967 F.2d 734, 736 (2d Cir. 1992)

(recognizing propriety of CPLR 5228 relief when “a public auction is inadequate either because it

is unlikely to produce significant bids … or because leaving the property in the hands of the

judgment debtor creates a risk of fraud or insolvency”). In any event, this factor is satisfied as the

bankruptcy court dismissed Mr. Quezada’s bankruptcy based largely on his monthly operating

reports consistently reflecting negative cash flow, as recited in the United States Trustee’s motion,

as discussed above. Further, there is clearly material risk with respect to the Dominican property

(real property, Mercedes), given that it is capable of being sold; his Schedules reflect that he is

insolvent after taking into account joint and several liability (see Footnote 1, supra); and consistent



3
  Honeedew Investing nevertheless declined to appoint a receiver given a prior injunction issued
by the state court and a pending Argentine proceeding over the subject apartment, and defendants’
contention that they intend to sell their Manhattan apartment to satisfy the judgment. None of
these circumstances or defenses to appointment of a receiver are presented here.

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with Debtor and Creditor Law § 271(b), he should be considered presumptively insolvent given

refusal to pay the judgment to date.

                                             CONCLUSION

          An order should be entered appointing a receiver over the Property to be Received and

granting the following related relief: 4

          •   Directing Mr. Quezada to promptly transfer title to all Dominican real property

              constituting Property to be Received, and title and keys to the 2020 Mercedes Benz

              vehicle constituting Property to be Received to the receiver, so that the receiver can sell

              the same.

          •   Directing Mr. Quezada to turn over to the receiver all stock shares and/or certificates

              he holds in El Tina Fish Market Corp. so that the receiver can sell the shares, or collect

              Mr. Quezada’s future distributions, dividends and/or profits from El Tina Fish Market

              Corp.

          •   Directing Mr. Quezada, if the aforementioned certificates of El Tina Fish Market Corp.

              stock are missing or unavailable, to execute and deliver (consistent with CPLR 5225(c))

              to the receiver, replacement stock certificates, a lost stock affidavit and/or any other

              instrument necessary to effectuate delivery of the stock to the receiver.

          •   Directing the receiver to distribute proceeds of the sale of the Property to be Received

              to Mr. Quezada’s judgment creditors, according to the priority determined by this

              Court.




4
    Related relief drawn from Colfin, 62 Misc.3d 1208(A), at *5, except for the last bullet.

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      •   Authorizing the receiver to employ Dominican counsel, for the purpose of enforcing

          the receiver’s order of appointment within the Dominican Republic.



Dated: New York, NY                               Amini LLC
       June 10, 2025

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Dated: New York, NY
       June 10, 2025

                                                     /s/ Jeffrey Chubak
